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              16-CV-81916 ROSENBERG/BRANNON
                       UM TED STA TES D ISTRICT C O UR T
                       SO U THERN D ISTR IC T O F FLOR ID A
                                  C A SE N O :
                                                          FILED BY                            D.C.
      K EN N ETH W .B RO M W
        Plaintil                                                    N0V 28 2216
                                                                   STEVEN M .LARIMORE
                                                                    CL-ERK U.s. Dls'rc'r
                                                                    s,D r'
                                                                         ,
                                                                         ..grcfrLA, - w f?B



      DAVID M ERRILL,ESQ.,W RRILL,PA.,
      TALARCHYK & W RRILL,TINA M .TALARCHYK,ESQ.,
      OZG NT & W RR ILL,PA .,and
      DRAIQE OZG NT,ESQ.
        D efendants


                                     CO M PLA IN T



         The Plaintiff,ICEN N ETH W .BR O W N sues the D efendants,D avid M enill,
      Esqo,M enill,PA .,hereinaûerreferred to as ttM errill'',Tina Talarchyk,Esq.,
      Talarchyk M errill,P.A .referred to as St-l-alarchyk'',D rake O zm ent,E sq
      O zm entM errill,P.A .referred to as O zm ent,each as agents,em ployees and
      principalsrespectively and allege as follow s:

                               N A TLJRE O F Tlv CA SE

      Thisisan action fordam agesin excessof$15,000.
   1. K enneth W .Brow n is a residentofPalm B each Cotm ty,Florida.
   2. OnoraboutFebruary 13,2013,Kenneth W .Brown (K .Brown),thePlaintiff
      sled Chapter 11 D ebtor-m -possession B ankruptcy C ase N o:13-13343-EPK .
      The legalrepresentation w asthe 1aw t11.
                                             111Talarchyk M enillP.A .,Talarchyk
      M errill,P.A .Tina Talarchyk and D avid M errillw ho w ere partnersthatw ere
      retained to advise,evaluate and review the prospectsand subsequently
      representthe Plaintiffin the m atter.
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      The DefendantTalarchyk & M errill, a law firm existing in which the
      D efendantTina Talarchyk w as a partner w ith her partnerco D efendantD avid
                                                                  -


      M errill.Thisaction isbroughtupon these Defendantswho egregiously failed in
      grossnegligence and breached theirfiduciary duty to perform in theaverageor
      custom ary standard ofcare ow ed the Plaintifffortheirrepresentation in his
      legalmatter.Herein thelegalservicesowed tothePlaintiffby theDefendantts)
      w ere perform ed by them individually asw ellas authorized agents and
      employeesofTalarchyk & M errill A 1aw tsrm dom iciled in Palm Beach,
                                        .


      Florida.
  4. The D efendantM errill,PA ., isapredecessorlaw firm to Ozm ent& M enill
      P.A .in w hich D avid M enillacted asagentandprincipal. A 11ofthe actions or
      inactionscomplained ofherein w ereperform ed by him individually aswellan
     agentand em ployee ofM enill,P.A . thattransferred from Ozm entM errillP.A .
      A law firm dom iciled in W estPalm Beach, Florida.
  5. The Defendant,Ozm ent& M errill, PA .,isthepredecessorlaw firm in which
     D avid M errilland D rake O zm entw ere the agents and principals. A 1lofthe
     actionsorinactionscom plained ofherein w ereperform ed by them individually
     asw ellasagents and em ployeesofO zm entM errill, P.A .,A 1aw 51711
     dom iciled in W estPalm Beach, Florida.O zm entM errill, P.A .w as the
     successor51-  1:1to Talarchyk M enill, P.A .
  6. Priorto thebankruptcy petition filed on February 13, 2013,the Plaintiffsought
     the Talarchyk M enill1aw 51-111directly from thereferralofDrake Ozm entof
     the D rake O zm entlaw firm .The Plaintifffollow ed up on this referralto go and
     m eetw ith and to discuss the ram ificationsoftiling a chapter 11 bankruptcy
     and the particularsexpressed ashighly skilled expertise in Bankruptcy m atters
     especially related Chapter11reorganizations The Chapter 1l m attersw ere
                                                  .

     specifically professed to be legalskillsofthe Talarchyk M errill1aw firm .
    These partners gave specific assurances and prom isesto the Plaintiffabout
    theirexpertise to review the im portantftm dam entalsand the specificsrelated to
    thatofthe Plaintiffand his attendantfinancialposition. This review w as to be
    specifically related to the necessity orthe appropriatenessof filing a Chapter
     11 forthe Plaintiff svoluntary benetk to utilize the protection attributed to the
    filing a Chapter l1.The initialm eeting and subsequentretainerw ere to form
    the basisfora detailed priorto filing thatwasto adequately explain and
    eventually implem entwhatevercourse ofaction would be appropriateto result
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      orassistin actionsforthe tinancialbetterm entto thePlaintiff 'lhis w asnotthe
                                                                     .

      resultforthe period ofthe B ankruptcy filed on February,14, 2013 and closed
      on M ay 2016.
   7. W eeksafterthe unannounced filing ofthe Chapter 11 Bankruptcy, the
      Talarchyk M enillpartnership ended M arch 2013 and the Plaintiffw asplaced
      in the aw kw ard position to shoesw hich attorney to continue the new ly fled
      Case.
   8. Initially K Brown decided to continue with Tina Talarchyk.Thisw asin part
      based upon the adviceofD ivorce counselPhillip Chopin,Esq.However, later
      this decision encountered m any serious concem s aboutM s Talarchyk's
                                                                 .

      loyalty,advice and w ork product.
   9. W eeks,latertheTalarchyk firm becam e Talarchyk & New burgh.Steven
      N ew burgh,Esq.apparently becam e the new de facto counselofrecord M T.    .

      N ew burgh w eeks aftertaking M errill's early position to representm atter M r.
                                                                                     .

      Steven N ew burgh,Esq.quickly ended his relationship w ith M s.Talarchyk           .

      This departure rem onstrated in serious concernsnotonly aboutM s       .

      Talarchyk's tem peram entbuther com petence and her integrity to continue in
      the bestinterests forthe Plaintiffin thisbanknm tcy m atter.
   lo.ilaving rem ained in contactw ith D avid M enillsom etim e O ctober2013, he
      provided aviable reassurance and offered the com petitivepressure to term inate
      M s.Talarchyk'srepresentation in favorofretaining the Ozm entM errill1aw
      firm.TheQzment& M errilllaw firm providedtheconfidenceandassurances
      thata com petentrepresentation w ould continue a1lm attersbefore the Court.
   1l.Awkw ardly withoutnotice som etim e in late M ay of2015,David M errillhad
      leftO zm entM errillto m y surprise to startM enill,P.A .A fter notbeing
      received by Drake Ozm entathisoffice,thereceptionistthere advised m e that
      David M errillw asnow M errill,P.A.David M enillhad told m e then thatm y
      casew asm oved with him and thathe would behanding m atters.Notto w orry.
      Thus,D avid M errillcontinued to representthe m atter asboth Plan A dm inister
      and as counselofrecord.
   12.The nature ofthis case isthe pre-litigation and postlitigation continuous gross
      negligence,m isrepresentations,fraud,breach offiduciary duty,and
      m alpractice thatseverely altered and m aliciously harm ed thePlaintiff
      irreparably atthe tim e ofclosing the B ankruptcy in M ay of2016   .




                                                                                             3
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   13.The Talarchyk M enill514,  11filed the necessary bankruptcy schedulesto identify
       the Plaintiffspre-bankruptcy assets, liabilitiesand respective overallfinancial
       position.
   14.This firm failed to m ark on ScheduleC the hom estead exem ption box to
       protectw ith exem ption thePlaintiffsinglem ostvalued asset The Talarchyk
                                                                    .

       firm 'sprem aturely and ineptly filed a363 auction saleofthePlaintifps
       residence in September2013 This sale w as w ithdraw n due to a no show of
                                   .


      none ofthe contactsor activity prom ised occurred This m iscalculation and ill-
                                                        .

      inform ed advice tainted the property value w ith distress sale im plications
                                                                               .

   15.The Ozm entM errillfirm with attorney M atthew Girardi, Esq.becam e the
      attorney ofrecord w ithouteverinform ing K Brown aboutthisrepresentation
      on oraboutO ctober 2013  .

   16.In theadversary proceeding Rodriquez v Brown M athew G irardim etwith K
                                              .

      Brown to com plete an adversary file and provide a defenseand answerto the
      R odriquez com plainton orabout
   l7.Attorney Girardi,Esq.leftOm entM errillw ith no noticed provided to K
      Brown on orabout
  18.A new attorney Christopher Salam one, E sq contacted K B row n on M onday
      before the Friday Trialto suggestreview ing the m atterfortrial K B row n
                                                                        .

      called each day to schedule areview fortrialpreparation and wasgiven
      Thursday at4 PM hoursbefore the trialon thatFriday A ttorney Salam one,
                                                            .

      Esq.wasnotprepared norinform ed aboutthetrialdefense H e w asnotan
                                                                .

      experienced trialattorney with no previouscasesbeing tried ataHearing
      anywhere especially aBankruptcy m atter  .

  19.The Rodriquez v.Brown entire defense filewasm issing priorto trialand
     subsequently never found by D avid M errillor O zm entM errillanytim e post   -


     trialforuseto prepareforan Appealthatthe Defendantswereretained to stay
     the verdict.
  20.TheRodriquez v.Brown m atterw asfatally lostfrom no trialpreparation and
     notrialdefensewith nowitnessesorexhibitsresulted in ajudgmentof
     $550,000 entered April2014.N otwithstanding, D avid M enillaffrm ed
     previousto trialand did so before a w itnessthatthe R odriquez dischargability
     w as a &tslam dunk.''A nd post-trialthatJudge K im ballfailed and errored in his
     decisionthatthejudgmentwouldwin on Appealand stated such beforea
    w im ess.

                                                                                       4
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   21.1n M ay of2014,D avid M errillinadvertently audible in Courtw ithoutnotice to
      the Plaintiffpushed another363 sale an auction forSeptember2014        .

   zz.lncom prehensibly,thisunexplained notice by M enillto theCourtoccurred
      im m ediately afterthe Plaintiffhad sucçessfully achieved approvalofthe fourth
      m otion to approveD IP loan financing.A financing thatm etw ith the approval
      ofsecured creditorsto continue to perm itthe D ebtor-in-possession to m arket
      the property for its fair m arket-value ahead ofa forced auction.This financing
      w assuccessfulrem ain currentw ith the outstanding m ortgage debtservice
      w ithoutthreatofforeclosure oradversary proceedings by the secured creditors
      Bank ofA m erica and Paradise B alzk to do so atleastthrough January 2015     .


      The grossly negligentannouncem entby D avid M errillplaced severe pressure
      and undue intluence upon the prospects to com plete a fair m arketsale.
   23.A duallisting agreem entw assigned by thePlaintiffbetw een Reback Realty
      and D ouglas Ellim an Realty on oraboutJune 2014.The Bankruptcy courtdid
      notqualify them untilon aboutSeptem ber2014 as agents approved by the
      B ankruptcy courtto sellthe property.
   z4.Notwithstanding,thelisting agreementwasadjusted toaccountforM enillthe
      m isstating before the Courtthe tim ing oftheauction date forSeptember2014        .


      To com pensate forthisuntim ely auction,the partiesagreed to includea non-
      traditionalreim bursem entclause foroutofpocketm arketing expenses should
      an auction beprem aturely forced ahead ofrealtorsale.To obtain thislisting of
      a luxury property,the listing agreem entobligated the realtors to allocate and
      spend $20,000 each to m arketthe property.
   25.Thus,asaconsequenceM errill'sfaux po caused the listing agreem entto
      conclude thatifthe property w ere to be sold pre-m aturely atauction.The
      auction salesproceedsin partaftersecured creditorswere paid w ould be
      preferentially allocated to com pensate the tim ing risk forthe R ealtors to return
      theirm arketing expenses.
   26.N early nine m onths later the property w as auctioned in early A pril2015;the
      realtors severalw eeks laterin A pril2014 filed a claim forthe reim bursem ent
      ofm arketing expenses.Problem atically,the Plan Proponent'sPlan provided no
      provision forthe Realtorsm arketing expenses.N either O z Title norD avid
      M errillasattorney and plan adm inistratoraccounted forthese expensesaspart
      ofthe closing statem enton the sale.Unbeknownstto thePlaintiffthese
      m arketing expensesto sellthe property w ould be accounted fornotallocating
                                                                                            s
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      m oniesfrom the saleproceeds,butwould becom e a claim againstthe
      Plaintiff s bankruptcy estate to finally be paid from hisrd irem entassets .

      C learly,the m oniesclaim ed by the realtorsto reim burse m arketing expenses
      should have been directly expensed from the sale ofthe property   .


   27.Thus,no salesproceedswere allocated to com pensate forthe $42,000 in
      m arketing expenses.The claim is being paid by the Plaintifffrom his
      retirem entincom e,IR A and retirem entannuities through D ecem ber2016        .

   28.0n oraboutJune 2014 unbeknownstto the Plaintiff,Ozm entM errillorDavid
      M errillinadvertently am ended the Plaintiffsbankruptcy schedules.This
      am endm entfailed to include and listthe Plaintiffspreviously claim ed
      exem ptions for the exem ptassets thatare the custom ary and standard
      exemptionsfordebtorsin a bankruptcy estate.These exem ptionsaregenerally
      considered in an exem ptassetstattzs are the retirem entannuities, life insurance
      and IRA.In addition to the Hom estead exem ption forone'sresidence     .


   29.The am ended Schedulesw ere m aterialin financialconsequencesto the
      Plaintiff. Thisoversightbecam eltnown early August2015.Thisam ended
      schedule irreparably dam aged the Plaintiffs financialposition and his
      retirem entincom e soon afterthe tenns found in the divorce m aritalsettlem ent
      (M SA)ofJuly30,2015wereenforced bytheBankruptcyCourt.
   30.ThePlaintiffsprim ary assethisresidentialproperty w asappraised for
      $11,000,000 in April2014.Unfortunately,theproperty wasauctioned foronly
      $6,500,000 April2015. Thisauction w asapproved by the Courtto Fisher
      A uctions,an auction com pany thatw as nota favored choice by the Plaintiff.
      Sheldon G ood C om pany w as favored by the PlaintiffoverFisherA uctions.
      The property m etfully the ççadequate protection''provisionspursuantto 11
      U.S.C.section 361.Exhibit1
   31.O n or aboutSeptem ber2014 K B row n term inated the legalrepresentation of
      Ozm entM errill.First,hehad to contend with the Courtto delay,postpone or
      cancelthe Septem berauction date.A nd secondly,the Plaintiffhad to
      aw kw ardly assuage M s.H eidiFinem an,the U .S.B ankruptcy Trustee w ho
      resolutely objectedtotheapprovethefirstAmended filingoftheDisclosure
     Statem entand Plan ofReorganization filed by O zm entM enill.
  32.The U .S.Trustee on the record declared and com plained thatiinothing has
     happened in this aftera1lthistim e''.The U .S.Trustee listed num erous reasons
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      to deny the Plaintiffsdebtor-in-possession Chapter l1reorganization as
      im properly filed docum ents.
   33.K B row n,now pro se am ended and filed these docum ents on oraboutO ctober
      2104.The am ended filing m etw ith U .S.Trustee approvalon allthe prior
      objectionsexceptforthemaritaldistribution ofassets.TheTrusteeempathized
      thatsuch approvalwould need be determ ined by including the m arital
      distribution ofassets in settling the divorce proceeding.
   g4.N otw ithstanding,Judge Kim ballem phasized thata pro se litigantwould notbe
      qualified to m eetthe com plexities ofconcluding a Bankruptcy m atterthrough
      reorganization and discharge.Thejudgesuchmattersnecessitatethatan
      experience atlom ey be em ployed.Once thisdeclaratory statem entw asm adeby
      Judge Kimbal.K Brown contacted severalattorneys,butsettled on Ozm ent
      M enill.A fterD rake O zm entand D avid M errillprofusely prom ise and agreed
      to correctthe pastm istakesand would conscientiously devotetheir
      professionalattention fully to the Plaintifps Bankruptcy m atter. A dding a new
      retainer;som etim e October2014,thePlaintiffreem ployed the Ozm entM errill
      1aw 51-111w ith the personalassurances ofD rake O zm entthathe w ould take an
      active role and interestin the m atter.
   3s.concurrently in O ctober2014,W endy B row n's attorney Bradley Straiberg
      filed to w ithdraw the autom atic stay and thisw as approved to w ithdraw W endy
      Brow n's protective orderto m ove on the declared com m entby the U .S.Trustee
      forthe divorce case to proceed in precedence forobtaining an approved Plan of
      Reorganization and D isclosure Statem ent.
   36.lnexplicitly,the firstnotice ofO zm ent& M errill's retention for courtapproval
      wasnotfiled untilon oraboutD ecem ber2014.
   37.ln D ecem ber2014,the D ebtor-in-possession,K B row n w as successfulto
      obtain alenderfor$6,000,000. The term swere favorable;aone yearloan at
      9% annually renewable.Sufficientto pay-offa1lcreditorsand to rem ove the
      pressure ofa distressed auction sale.A ttom ey A lan Perlm an filed on D ecem ber
      9,2014 for a courtapprovalto presentN ew W ave Loanspost-petition
      financing proposal.This w asthe Plaintiff s fifth requestforD lP post-petition
      financing.
   38.A n auction foretells the prospects fora distress-type sale w hich isnotas
      desirable asthe altem ative com pared to a fairm arketsale for obtaining a
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      highervaluation forthe com bined benefitofPetitionerand forproviding a full
      pay pay-offofcreditors.
   39.Ozm entM errillnegligently failed to supportthisstrategic financing. This
      tinancing w asm aterialto serving thePlaintiff sbestfinancialinterest  .

      C onsequently,A ttom ey A lan Perlm an w ithdrew w ithoutnotifying or giving an
      explanation to the PlaintifftheN ew W ave Loansfinancing proposal TheCourt
                                                                         .

      received thisw ithdraw alfiling on January 7, 2015.
   40.To avoid the perceived contlictofinterests, thePlaintiffm oved to havethe
      courtapprove the em ploym entofD ickenson, Rex,and Sloan.A law firm who
      specialized in realestate financing and realestate closings;a closing intended
      fortheeventualsale oftheproperty   .


   41.UnbeknownsttothePlaintiftlW endy Brown filedasaPlan Proponenta
      separate Plan ofReorganization and a Disclosure Statem ent Thisplan directly
                                                                .


     contlictedwiththatofPlaintiffsplants).Thisplan soughttheapprovalof
     creditors to discharge the Bankruptcy by replacing the Plaintiffas D ebtor in-
                                                                                 -


     possession by liquidating assets from the Schedules filed w ithoutany
     applicable exemptions.ThisW endy Brown Plan w asGled on December23,
     2014.
  42.N otuntilJanuary 11,2015 and aherthePlaintiffsaw on Pacerthe filing ofthe
     W endy Brow n Plan and proposalforthe post-petition financing w as w ithdraw n
     by A ttorney Perlm an.A stonished in surprise the Plaintiffneverw astold or
     expected thatacom peting theplan by anotherPlan Proponentcould be filed
     becom e controlling.Especially spousalPlan based upon afalsetçproofof
     Claim (POC)#22-1asfiledby W endy Brown.Andtwo,neitherwasadenial
     and abandonm entoftheBankruptcy Code provisionsofttadequateprotection''
     pursuantto U .S.C .1125 be ignored.
  43.Accordingly,astonished and confused,the Plaintiffimm ediately contacted
     David M enill.DavidM errillsaidtçnottoworrf'.itW ewould fileourown
     com peting Plan.''
  44.A 1though thisdid nothappen on a tim ely basis, no plan by O zm entM errillw as
     filed in tim eto com petew ith the W endy Brown plan to liquidate. Thusthe
     Plaintifpsassetsweresubjectto 100% liquidation by aplanadm inistratorwho
     w as also his attorney underthis adverse plan. O zm entM errillfailed atevery
     occasion to be proactive and failed to cease any inactivity otherthan be
     reactive to things asthey popped up.Thus w ith tim e being ofthe essence, the
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     Plaintiffagain worked to develop hisown plan ofreorganization and disclosm e
     statem ent.Underthe gun oftim e the Plaintiffprepared the necessary
     docum entsready to be filed,butw anted to have Ozm entM errillreview , edit
     and do the filing.
  45.Albeitnothing happened,a late tiling on happened on January 28thoça()!5      .

     However,thecreditorshad their6 weeksto dem ure and to accepttheW endy
     Brow n Plan w ith no com peting plan to review .
  46.A hearing w as setto approve the adverse W endy Brow n Plan ProponentPlans
     on February 2,2015.The PlaintifFsPlan waswithdrawn a few dayslateron
     February 5,2015 asuntimely filed.
  47.The Ozm ent& M errilllaw 517, 11had filed theessentialPlan ofReorganization
     and D isclosure Statem entthreetim esw ithoutevergaining Courtapprovalfor
     assuringK.Brown aj-esh startreorganization.
  48.The Ozm ent& M errilllaw fil'm had fled on fouroccasionsto obtain Court's
     the approvalforpost-petition financing.The loans w ere to reorganize and to
     benefitthePlaintiffasthe Debtor-in-possession.The Ozm entM enill1aw firm
     chose to ignore the fifth requestforpost-petition financing A financing that
                                                                .

     paid offsecured creditorsand thetim eto perm itthe allow anceofa fairm arket
     sale ofthe residence to resultin a favorable financialoutcom e forthe Plaintiff  .

  49.The Plan Proponentw asa liquidation plan thatcalled forPlan A dm inisterto
     procure the Plaintiff sassetsto liquidate them then proceed to auction the
     prim ary assetthe Plaintiffsresidenceto pay 100% ofthePO C creditors     .

  so.FisherAuction developed an odiousm arketing strategy thatrecklessly choseto
     usedisparage and to berate thePlaintiffby using hisnotoriety in the m edia of
     Localand N ationalPressto publicize the sale.
  51.K Brown'shad the ignoblenotoriety ofan unfavorable SEC action thatw ms
     found againsthim in 2007.Thisvilifying m arketing strategy wasa ploy to
     draw atlention to attractbidderstothe auction.However, the auction w as not
     an auction when only onebiddershowsup in April2015.
  52.This bidder actually originated from K B row n's contact, architectD ouglas
     R oot.The sm eartactics failed to produce bidders,butsucceeded only to
     discreditthe Plaintiff and his fam ily.
  53.A fterprotesting.The Plaintiffagreed to use O z Title to close the sale O zm ent
                                                                          .

     & M errillargued to do the closing ofthe sale in exchange to m ake som e very


                                                                                      9
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       specificprom isesand assurancesin legalfees.U nwillingly,theD ickenson law
      firm wasdropped from perform ing the closing in April2015   .

   54.A 39 yearm arriage w as ended betw een the Plaintiffand his spouse W endy
      Brow n.A fterm any threats by opposing CounselJason M arks thatifthe
      Plaintiffdid notagree to sign adisproportionateM SA thatK Brown after39
      yearsofm arriage and 50 yearsw orking thathewould leavethe m aniage with
      ZER O .
   55.The closing failed to expensethe $42,000 in m arketing expense.O zm ent
      M enill,Oz titleand D avid M errillignored and neglected to includethese
      m arketing expenses as being properly deducted from the sale proceeds    .

   56.A1closing,D avid M enill,the attorney laterdisclosed thathe incurred
      substantiallegalexpenses,butthe legalexpenses incurred forthe closing in
      excessof$78,000 asclaim ed M errill,P.A .w ere also notexpensed from the
      saleproceedsattheclosing.
   57.These expensesofthe m arketing expensesand the legalfeeswere charged
      againstthe Plaintifftaken by M errillfunctioning asPlan Adm inistratorfrom K
      Brow n M SA hissale proceedsof$100,000 and from $144,000 rem aining his
      IRA in October2015.
   58.N one ofM errill's1aw firm sthatwere partiesto thisbankruptcy everneither
      provided m onthly billing statem entsnor w ere there retaineragreem ents
      accurately provided to explain the feesand dutiesorobligationsofthe
      attom eys.
   59.On oraboutN ovember2015,$244,000 wastaken from the saleproceedsof
     the Plaintiff sresidence and $144,000 from hisIIkA.These m oniesweretaken
      to pay theunsecured creditorsand the unadvised attorney fees.Thesem onies
      w ere disbursed by courtorder.The courtordered these paym entsbe m ade to
      satisfy creditors from the approved Plan Proponentplan ofliquidation The
                                                                           .


      rem aining balance of$7000 in the escrow accountw asused to pay towardsthe
      $42,000 claim by the Realtorsm arketing expensesin January 2016.
   60.There w asno inquiry,investigation ornegotiated settlem ents attem pted by the
      Ozm ent& M errilllaw firm to m itigate any ofthe ten creditors abouttheir
      proofofclaim s.
   61.The M SA was signed w ith the coercion and duressto leave 39 yearm arriage at
      age 68 years o1d w ith ZER O .In em ails and before w itnesses in July 2015,
      D avid M errilldogm atically confirm ed thatthe PlaintifFs retirem entannuities
                                                                                   10
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      and IRA were ttabsolutely''secure from attachm ent. ExhibitThisw as
      diam etrically contradicted and proved to be notcorrect          .

   62.-1-14e O zm ent& M errillfirm failed to include the Plaintiff s annuitiesand IR A
      as EX EM PT assets on Schedule C .Exhibit2
   63.David M errillatOzm ent& M enilland M enill, P.A.overatlzree years failed
      to investigateordeterminethe accuracy ofPOC 22 and 23 for$2,040,876 and
      $6,731,437 from W endy Brown'sdissipation claim and V ioletW erneras
      Trustee claim fora prom issory note. N eitherofw hich w ere in factaccurate,
      butwith objection wereoverruled by thecourtthusremain outstanding and
       collectible.A ttom ey M errillw ithoutconducting the due diligence to
       investigate the authenticity and the correctnessofthe claim sPOC 22 and 23.
      A s a consequence,offearing to getZER O , the Plaintiffw as forced to sign a
      disproportionate M SA which conceded over$1,500,000 from his estate.
   64.A sadebtor,thePlaintiffhad an additionaltw o m ortgages. These outstanding
      obligationsreceived no contactornegotiation by M enillwhile in Chapter 11to
      perform a costsaving loan m oditk ation. The Plaintifffinally succeeded in
      September2016 on hisown to obtain a costsaving loan m odification with
      Seterus,lnc.butstillcontinuesto negotiate with N ationstarM ortgagethe other
      m ortgagee.
   65.TheOzment& M errilllaw firm failed to investigateand review the Plaintiff
      litigationsforcollectability orlegalsufficiency to provideasContingent
      Assets' ,m oniespotentially benefiting thebankruptcy estate.
   66.These litigations included:
      Brow nv.Securitiesand Exchange Com m ission case no: thiswasa m atterto attem ptto acquitthe
      PlaintiffforwhatwasallegedlyafalselyachievedjudgmentbytheSECon December19, 2007.
      Brown v.GardinerKoch and W eisbaum case no: Thism atterisa malpractice claim to vindicate
     thePlaintifffortheirfailuretoconductaproperandappropriatedefenseforSECjudgmentabove            .

     Brown v.Am eritrade arbitration case no: Thism atterwasan attem ptto exonerate the Plaintiff
     from theSECjudgmentbyprovingthematterwasalso equallyconcealedfrom a multi-billiondollar
     securitiesfirm .
     Brownv.Cim illuca case no:Cim illucawasthe Plaintiff'sem ployeethatdid 100% ofthe trading the
     Plaintiffwasfound culpable and liable forby the SEC.
     Carsonv.Browncounterclaim by Browncase no:Thiswasacollectioncasefor$250,000thatthe
     courtalreadyfound dueand owing byCarsontothePlaintiffthata needed ajudgmentbefiled The    .
     case wasdism issed forIackofprosecution.
     Brownv.CitizensPropertyIns.Caseno:06-20906(02)thisiscaseto collectdamagesforhurricane
     repairs.
  67.TheDavidM errillfirmtslalso failed tonotify theIrvingH.Picard,Trusteefor
     the Liquidation ofthe B enard L.M adoffInvestm ent Securities , LLC v.K en-
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      W en FLP leaving the Plaintiffto engage in a legaldispute overadefault
      judgmentpotentially for$4mi11ion dollars.
   68.TheM SA sir ed on July 30,2015 prom ised $100,000 from theSalesproceeds,
      two annuitiestotaling $650,000 and $150,000 orso from the IR A bedistributed
      as the m aritalassetsto the Plaintiffw ith rem ainderofthe ''netsales proceeds''
      of$473,000 to W endy Brown.N o m ention wasm ade oroffered by D avid
      M errillaboutpaym entsto unsecured creditors,attorney feesor$42,000 in
      m onies to R ealtors to be consum ed in the Bankruptcy Court. The resultw msno
      m oniesw ereavailable in the Banknlptcy orderto go to thePlaintiff.
      M eanwhile,theretirementammitiesremain subjectto acourtorderto
      com pensate potentialcreditors claim postthe closing ofthe bankruptcy m atter
      in M ay of2016.In an em ailD avid M enillofM errillP .A .stated tiK en can have
      the $100,000 in aw eek.''And stated,iiludge Kim balldoesnotlikeyou and
      already show n you thathe w illrule againstyou ''El-l-ake the M SA .''
                                                      .

   69.Thebankruptcy m atterhad m aterialconsequenceson theM SA which
      adversely and severely harm ed the Plaintiffirreparably.
   7o.The nature ofthe case isthe m aterialbreach offiduciary duty to com plete
      accurately ScheduleC forthe Hom estead Exemption,the am ended ScheduleC
      fortheExem ption to theretirem entannuitiesand the IRA . Exhibit3
   71.The nature ofthe case isthe m aterialbreach offiduciary duty to t5le an
      approvalPlan ofR eorganization and D isclosure Statem ent.
   72.The nature ofthe case isthe m aterialbreach offiduciary duty to
      conscientiously procure a tim ely refinancing to achieve an open m arketsale
      instead ofthe quick auction sale ofa greatervalued residence.
   73.The natureofthecase isthem aterialbreach offduciary duty to provide
      accurate and correctinform ation in an inform ed understanding oflegalm atters
      and legalrightsto form ofexplanations and inform ed consenton the adverse
      consequences ofnotacting w ith the skill,prudence and diligence necessary in
      com pleting Chapter 11 reorganization.Thisflaw ed advice and lack of
      perform anceto providean appropriate standard ofcarew asted over$2,000,000
      the Plaintiff s assetsunnecessarily.

                               G EN ER AL A LLEG A TIO N S

   74.These D efendants collectively and individually failed the Plaintiffto properly
      representhis bestintereststo avoid those consequencesthatresulted in the
      legalobligations thatcaused substantialfinancialharm upon the Plaintiff.
   75.The legalprotections thatnecessitiesthe solutions afforded in the filing ofa
      Chapter11debtor-in-possessionproceeding failedto providettwfreshstart
                                                                                    12
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      thatw asprom ised.ln accordancew ith theprotectionsprovided theindividual
      in bankruptcy reorganization and by thepredeterm ined rulesofthe U S.    .

      Bankruptcy forChapter llreorganization Thedefendantts)werewelladvised
                                                .

      by thePlaintiffaboutallofhistinancialcircum stances Especially,the Plaintiff
                                                             .

      informed thedefendantts)hadavaluablesingleassetbankruptcythatincluded
      otherexem ptassets.H ow ever, thesedefendantts)failed and carelessly
      neglected to protectthePlaintiffw ith the rulesafforded to the exemptionsin a
      chapter 11bankruptcy proceeding   .


   76.A $25,000 retainerand orotherfeesthatwerepaid forthislegalrepresentation              .

      Thesedefendantts)alawyerresponsibility tobecompetent,promptand
      diligent.There were appropriately delineated retaineragreem entsorm onthly
      statem entsdetailing billingswhich engaged in conductinvolving dishonesty,
      fraud,deceitand m isrepresentation The plaintiffcontends thatthe bankruptcy
                                            .


      filedbythedefendantts)wasconducted solely fortheirenrichment         .

   77.Thereweremistakesmostifnotal1thebillingsby thedefendantts)           .

   78.D avid M enillbeguilingly led m e to believethe $25,000 costw asessentially
     the totalcostfor w hatw as to be a speedy single assetbankn lptcy. There no
     discussion aboutadditionalm oniesbeing needed orany estim ate ofthe m oney
     thatwould beneeded to com pletethe proceeding through discharge       .

  79.Sincethe financialtroublesplaguing the Plaintiffcentered mostly upon
     salvaging asm uch ofthevalue ofthe PlaintiffsM analapan hom e and to stay a
     non-collateralizedjudgmentbycreditorFrankRodriquezetal.W hena11other
     creditorswere eitherbeing satisfied ornotpressuring thePlaintiff  .

  80.Thus,thebankruptcy was firstto providea solution to work som ething out
     withFrank Rodriquez.Andhisjudgmentfor$489,343.65.Rodriquez
     threatened to obtain a sheriff slevy to sellthe property for benefitof
     R odriquez etalon oraboutFebruary 17, 2013.
  81.TheDefendantts)Talarchyk & M errillfiledtheChapter11withoutfirst
     contacting R odriquez asprom ised in pre-filing effortto resolve his dispute and
     then K .Brown wasdenied aprom ised m eeting to discussfurtherthepractical
     im plications and details w hata voluntary Chapter 11 could accom plish       .

  82.The Plaintiffw as surprised to learn aboutthe filing by hisphone to D avid
     M errill.M errillsaid thatthe Chapter11petition had been tâled priorto this
     prom ised finaldiscussion to review theirrecom m endationsand to be better
     inform ed in understanding the possible outcom es. The case w as tiled

                                                                                       13
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      coincidentally thePlaintiffclosing on a vehicle lease with M ercedes-Benz
                                                                              .

      K now ing the resultsthathave occurred Chapter 11 w ould nothave been filed     .


   83.lprovided Talarchyk & M errillthe financialdetails and recordsneeded to
      com pletethe petition and the variousschedules.TheD efendantsin comm on
      errorsfailed to check thehom estead exemption box forprotecting the
      Plaintiffsresidence,hismostsigniticantasset.Thehom estead forhis
      residencew asleftnon-exempt.Thisassetwaslisted for$9.5 m illion but
      appraised at$11m illion dollarsa yearlater.Yet,the Talarchyk law t51114
      im m ediately insisted to go into an auction pursuantto 1lU .S.C.363 & 364  .


      M s.Talarchyk boosted aboutherexperience and num eroushedge fund
      contacts w ould rush to participate and rush to grab this assetsale atauction
                                                                                  .

      Thisadvicewasbogusno repliesw erereceived aswasnotprom oted properly            .

      Thisadvicewasfocused to com pensatethe lawyersm orethan looking outfor
      client.
   84.Again in M ay 2014,David M errillofOzm ent-M errillwithoutnotice revised
      and filed an am ended Sum m ary ofSchedulesthatnegligently failed to include
      the exem ptassets statusforthe exemptionsforan lRA and the$1.7 m illion
      dollarsofretirem entannuitiesowned by thePlaintiff.Thisexemption status
      ignored on thePlaintiff sresidenceand deleted from exemptstatusthe
      annuitiesand lra provided in Florida,butnow were exposed and leftin anon-
      exemptsubjectto creditors.Thisseverely prejudicedandcontinuesto
      prejudicethePlaintifffinancially.
   85.As aresultofthisnegligence and bad advice.ThePlaintiff shom ewassold at
     auction w ithoutany protective exem ption proceedsrem aining forthe Plaintiff
     to acquire a new hom estead and caused the annuities and lR A to be
     ulm ecessarily exposed to creditors.Consequently,thePlaintiffreceived no
     benetitfrom hislR A after40 yearsofaccum ulationswhile the saleproceedsof
      hisresidencewenttocreditors.Thus,theremaining armuitiesarestillsubjectto
      liens.
   86.The Plaintiffw asnotever advised ofthese financialvulnerabilitiesatany tim e
      during this voluntary Chapter l1 proceeding.Itw asnotuntilA ugust2015
      beforethePlaintiffbecam e aw are ofhow exposeto creditorsthese com m on
      errorswould causefinancialinjury.


                                                                                      14
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   87.1n August2015,thePlan Proponentw asgiven the Court'sorderto forcethe
       liquidations to pay creditors and to pay D avid M errillhis undisclosed and i11-
      advised legalfees.
   88.The July 3l,2015 ordercom posed by Plan Adm inistrator,David M errillin less
      than 24 hoursaûerthe oppressive and ill-advised M SA w as signed.
   89.This orderw as neveradvanced in discussion by D avid M enill,norw as any
      inform ed understanding given priorto M SA being signed.The Plaintiffw as
      com pletely blindsided with theam ended post-petition schedulesbeing so
      recklessly detrim entalto the Plaintiff.
   90.Oz Title,LLC.ofOzm ent& M errillPa resulted in an adm inistrative conflict
      ofinterest.The Plaintiffhad hired D ickinson Rex & Sloan to adm inisterthe
      legal,the closing and title insurance.Y et,D rake O zm entofO zm ent& M errill
      protested prom ising thatcertain concessionswould bem ade in legalfeesand
      the sale w ould be charged fora flatfee.M errillsubsequently billed excessive
      feesthatw ere negligently excluded from being expensed in the salesproceeds,
      butw ere instead deducted from the Plaintiff s retirem entand divorce
      settlem entassets.Thisirretrievably harm ed the Plaintifffinancially.
   91.Thefollowing furtherdetailstheDefendantts)continuousbreaches,fraudulent
      m isrepresentations and the com m on errors in the egregiously negligent
      representation by the Defendantsthatresulted in significantfinancialharm and
      econom ic lossto thePlaintiff.Thissum m ary enum eratesthesebreachesthat
      include butare notlim ited to the follow ing:
   a. N o preparedness w asm ade forthe R ealtors claim form arketing expenses from
      alisting agreem entignored by M errillin the am ountof$42,000 thatisbeing
      paid from the Plaintiff s retirem entincom e sources instead ofbeing expense
      from the sale proceeds ofthe residence.
   b. M enillfailed to tim ely com m unicate and return phone calls to A ttorney
      Pearlm an to pursuethe com pletion ofrefinancing rathertheauction saleofthe
      residence.
   c. M errillfailed to inform the Plaintiffofthe Plan Proponent'splan on D ecem ber
      23,2014 untilJanuary 11,20 15.Thus failed to tim ely file a com peting plan of
      reorganization and disclosure statem entforthe Plaintiff.This failure caused the
      Plaintiffto no longer retain the prom ised status ofa voluntary debtor-in-
      possession chapter 11.


                                                                                    15
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   d. An Ordergranting thePlan ProponentitEm ergency M otion to Approve for
      ConditionalApprovalofDisclosure Statem entand to Com bineFinalHearing
      on Approvalofthe D isclosure Statem entw ith the H earing on Confirm ation of
      the Plan:Ex Parte w as ordered January 6, 2015.
   e. W ithoutan im m ediately filed com petitiveplan Thecreditorshad no otherplan
                                                     .

      to approve.ThePlaintiffgained thesupportofthe secured creditorsto review a
      competitively tiledplan,buttheDefendantsts)madenoefforttoproducea
      plan.
   f. The com petitiveplanswereproduced on January 22 and 23rdjay an unsu jjed
      debtor,thePlaintiff.Ozm entM errilldid review and filetheplans, butfled the
      plansJanuary29,2015justdaysbeforethefinalvoteofcreditorswascounted.
      The various class ofcreditors w as scheduled on February 2, 2015 forthe
      approvalPlan Proponent'sPlan,thusw ith no tim e and no chance for approval
      theplaintiff sThird Plan ofReorganization and D isclosure statem entwas
      withdrawn aûerthe courtapproved theW endy Brow n plan on February 5,
      2015.
   g. ln Courtin M ay 2014,David M errillm istakenly scheduled an auction sale for
      September2014justweeksafterthePlaintiffreceivepost-petition financingto
      delay and postpone the auction to January 2015 A Schedule ofthe paym ents to
                                                      .


      secure creditorsprovided the com pensation forthetim e extension Exhibit
                                                                         .

   h. David M errillfailed to heed the dem and ofthe Plaintiffto nnnounce in M ay
     2014 thatthe363 auction saleto be scheduled forafterDecem ber2014 H e    .

      instead recklessly and carelessly stated said salew ould be Septem ber2014  .

     Thisfoul-up sabotageand putthePlaintiffatrisk foradditional$600,000 in
     assetsto gain only three m onths ofselling tim e to sellor refinance the house
     instead of8 m onths.'lhe threatofauction keptw ould be buyers aw ay.
     M enillconsistently m isrepresented bankruptcy 1aw and the predeterm ined
     bankruptcycustom in afailednumbersuccessivefilingts)toachievea
     Disclosure Statem entand Reorganization Plan m ore favorableto thePlaintiff          .

     This is clearly a m alpractice com m itted upon his client
                                                             .

     ln Septem ber2014,B ankruptcy Trustee M s.H eidiFinem an stated in courtthat
     after 18 m onths notlling has been done in this case thus farand filed a notice of
     over19 objectionsinarejection toM enill'sDisclosure StatementandPlan of
     Reorganization.Thisopened theCourtto deny the Ozm entM enillPlansand
     W endy Brown'sattorney to take controlofwhatw asa volr
                                                          untary Chapter 11           .
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   k. Ozm ent& M enillgavem any assurancesthatalllegalm atterswould be
      diligently attended to afterbeing retained a second tim e in October2014.The
      Plaintiffagreed for added legalfees to re-retain O zm ent-M errillafterbeing
      term inated forfailing to prepareand conducta deserved standard ofcare in
      legalrepresentation.
   1. Especially in regardsto failure to com m unicate with theRealtorsto affix a
      suitable listing agreem entfortheBankruptcy proceeding,thettslam dunk''
      failure in trialto discharge the R odriquez claim and the faux po thattruncated
      the tim e foran unw anted auction from Septem berto sellorresnance the
      residence.
   m .The O zm entM enilltsrm w asrem iss as itfailed to have D avid M errillto
      actively participate and attend to the Plaintiff s bankruptcy m atterpriorto
      M errill's application to be em ployed on D ecem ber 2,2014. The m onth of
      D ecem ber m oved very quickly to have m any im portantlegalissues occuning
      thatproceeded to negatively change the outcom e the case.
   n. Ozm ent& M errillhad Attorney Girardiem ployed and $10,000 retainerpaid
      defend the Plaintiffin the R odriquez discharge ability case.
   o. N o preparation w as conducted forH earing on the halfm illion dollar
      Rodriquez'sclaim .Attorney G irardihad leftthe 51-1:1w ithoutany notice given
      to K B row n.
   p. Justdaysbeforethehearing a new ,unprepared,and com pletely inexperience
      attorney,ChristopherP.Salam one,Esq,w as appointed to conductthe H earing.
   q. M eanw hile,the file w as lostcontaining a11the exhibits,expertw itness
      testim ony and docum entsforadefense were lostuntilthe second day ofthe
      trial. Som e ofthe docum ents w ere hasty prepared and w ere delivered to the
      courtat lpm ,butA ttorney M errillchose notenter oruse them .
      O zm ent & M enillhad scheduled A ttom ey Salam one a few daysbefore trialto
      review the case w ith the Plaintiff. Itw as 4 pm the nightbefore the H earing for
      an hourthatA ttorney Salam one sum m on the Plaintiff forcursory one hour
      review .
   s. C onfused and protesting,the Plaintiffconfronted M enillw ith grave concern
      and requested M enillto attend the H earing.A tw hich tim e M enillstated,
      ûûK en,don'tw ony this Rodriquez case is a slam dunk.Y ou w inl''The
      m alpractice resulted in $550,000 be taken from the sale proceedsofthehouse.

                                                                                    17
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      M errillstated thatJudge Kim balerred,and the decision had aviable appeal
      after feesw ere paid the appealw asdropped in late 2014.
   u. ln em ailsand in discussions,M errillwasconsistently asked by m ewhatthe
      risk to the annuities w asand IR A did the bankruptcy entail.M enillrepeatedly
      advisesno w orry theirexem pt.
   v.Therewere 10proofsofclaim s(POC)filedby creditorstotheBankruptcy.
      None ofthese creditorsw ere given callsornoticesto w ork-outany settlem ents.
      Thusno m itigation ofclaim s pursued.
   w .There w ere tw o m ortgages involved neitherm ortgagee w as contacted to w ork
      outa m odification settlem ent.N eitherw asthe Plaintiffever provided any of
      the com m unications,statem entsor docum ents thatthe m ortgagees forw arded
      to D avid M enillthe attorney ofrecord.Thusno m itigationsofm ortgage
      interestorpaym entsw ere pursued.
   x. The Plan Proponentw asalso granted a coercive leverage adversely positioned
      the Plaintiffto irreconcilably agree to an unequaldistribution in the M arital
      Settlem entAgreement(M SA).
   y. M errillm isrepresented the legalposition ofthe exem ptstatus ofthe annuities
      and IR A and the salesproceeds to the residence thatw ere taken in creditor
      liens and attorney fees afterbeing prom ised in a distribution in the M SA of
      $250,000.
   z. M enillfailed eitherby gross negligence orineptitude ofinaction to not
      investigate the incorrectorbogusclaim sPOC #22 and 23 filed for$2 m illion
      dissipation claim by W endy Brown in the divorceand asPlan Proponent,and
      VioletW ernerasTrustee prom issory note for$6.2m il1ion.asaconsequence
      the Plaintiffw as forced to agree to a M SA thatw as disproportionately unequal
      by over$1,500,000.Thethreatsfrom the opposing divorce CounselJason
      M arks m ade the intim idationsofnotaccepting the M SA or getting ZER O .lt
      w as the ill-fate ofthe PlaintiffforM errillto advise in fronta w itness thatJudge
      K im balçtdoesnotlike you,he w illrule againstyou given opportunity to do
      so.''ti-f'
               he adverse decision in the R odriquez case tainted Judge K im bal's
      disposition ofyou.''
   aa.The continuousgrossnegligence and breach ofduty by M errilldirectly caused
      the loss ofthe R odriquez case,the forced auction,and the forced settlem ent
      reached in the M SA .Each severely harm ed the Plaintiffeconom ically and
      financially in dam agesexceeding $2 m illion.
                                                                                     18
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   bb.Thisbreach offiduciary duty w asdeliberate and intentional The m otivation
                                                                  .

      w asto auction the residence quickly.This w as a quickerm ethod ofcollecting
      legalfees.The legalfeeswere agreaterpriority to thatoverserving thebest
      interestsofthe Plaintiffclient.
   cc.The U .S.B ankruptcy CourtJudge PaulH ym an, Jr.on the record in another
      m atterreprim anded D avid M errillstating,''You'recom mitting malpractice
     withyourclients.J/-oncofthem comein here,1'm going to tellthem tosueyou.
     Andlwillputon therecor4 youarecommitting malpracticewith
      clients.''Exhibit4

                                   LEGAL ARGUM EN T
                                         COUNT I
           CLA IM A G A IN ST D A V ID M ERR ILL A r D A V ID M ER RILL A S
       PRIN C IPA L A r A GEN T FO R TM A R CHY K & M ER R ILL O ZM EN T &
             M ERRILL Ar M ERRILL P.A .FOR LEGAL M ALPRACTICE
  92.The Plaintiffrealleges and adoptsa11ofthe allegations setforth in paragraphs
      l through 92 above.
  g3.pre-petition the legalengagem entby David M errilland Talarchyk M errill
     failed to adequately inform the Plaintiffofany understanding the adverse
     consequencesofthe negligentcompletion,rem issive oruntim ely filingsof
     standard B ankruptcy schedules,form s,courtdocum ents and other subm ittals to
     the court.Thisviolating Florida'sRulesofProfessionalconducthascaused
     undue fnancialharm to the Plaintiff.
  94.David M enillfiled the bankruptcy before inform ing thePlaintiffthatitwas
     being filed and priorto the m inisterialexplanations ofthe consequences ofan
     non-prom oted 363 sale,an unapproved plan ofreorganization and disclosure
     statem ent,failure to claim exem ptions ofassets from creditors, a rem aining
     debtpaym entplan to reorganize post-petition creditors,failureto address
     adversary cases,legalactionsfordischargability ofsecured orunsecured
     claim s,and the perftm ctorily negotiating settlem ents orprospective retinancing
     ofD lP post-petition financing.Thisviolating Florida'sR ulesofProfessional
     Conducthas caused undue financialharm to the Plaintiff   .

  95.D avid M errillatTalarchyk M errillpre-petition filed the bankruptcy and then
     w as given tw o fullfile boxes ofthe pertinentfinancialm attersrelated to the
     Plaintiffthatw entvirtually unattended too in carelessand negligentfashion  .
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      TheD efendants'should have by the exerciseofduediligenceand skillreview
      and analyze m ost,ofifnota11these docum ents in the investigative stage be
      indexed orcategorized fora properly prepared case.These financialrecords
      provided the circum stancesthatdictated whatwasgoing to happen in the case
      the failure to inform and to com m unicate to the Plaintiffinevitably 1ed to the
      failure to navigate the case to achieve through proper actions notthe inactions
      aresponsible desired result.ThisviolatestheFlorida'sRulesofProfessional
      C onductthathascaused tm due financialharm to the Plaintiff  .

   96.David M errillfailed to contactorattemptto settle orto resolvepre-petition the
      Rodriquez unsecured claim $500,000.The filing wasdonew ithoutnotifying
      the Plaintiffand w ithoutcontacting Rodriquez the im m ediate concem form ing
      the inquiry ofdiscussing a Chapter 1lw as also notdone.N o inform ed consent
      violatesa LawyersResponsibilitiesthathascaused Gnancialharm to the
      Plaintiff.
   97.D avid M errill and O zm ent M errill failed to prepare a defense and ended up
      losing the Rodriquez defense file assem bled to defend the Rodriquez v. B row n
      case.The file included the exhibits and expertw itness testim ony needed to
      provide a defense.Attorney M atthew Girardi, Esq of Ozm ent M errill was
      retained to try the case,butnever noticed the Plaintiffthat he w as replaced or
      not the attorney to defend the case.Cluistopher Salam one,Esq.firsttim e, not
      fam iliar and inexperience tried the case w ithout preparation. The O zm ent
      M errilllaw firm in consideration oftheiremploym entundertook and agreed to
      represent the Plaintiff during the course of the B ankruptcy to act in a proper,
      skillfuland diligentm anneras attorneys forthe Plaintiff.
   98.D avid M errilland Talarchyk M errillfailed to claim thehom estead exemption
      on Schedule C.Thiscom m on errorhad caused undue financialharm to the
      Plaintiff.
   99.D avid M errilland O zm entM enillam ended Schedule C w ithoutnotice and
      failed to claim the exem ptions forthe retirem entannuities and IR A . Theabove
      w as assured thatthe equity in the hom e and these exem ptassets w ould be
      protected underthebankruptcy laws.Thiscommon errorts)andinactionts)was
      so negligentthatthey did notproperly prepare forthe case and or al1
      practicable pum ose ,did notputon a credible and/or a reasonable defense or
      outcom e forthe Plaintiff.


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   100. Accordingly asstated above,D avid M enilland Ozm eptM errillfailed to
     have a Plan ofReorganization and D isclosure statem entapproved.
   101. A ccordingly asabove,David M errilland Ozm entM errillfailed to m ake
     tim ely contactsw ith the RealEstate Listing A gents,A ttorney A lan Perlm an for
     N ew W ave Loan,A ttorney Blaine D ickenson,A ttorney Laddy Luna Perez of
     Bank A m erica,A ttorney R appaportofParadise B ank,A ttom ey R obert
      Gershman,AttorneyM arieCallaQuartelland othersto review various
      m annersduring the litigation ofthecase.Thislack ofdiligencehascaused
      m aterialfinancialharm to the Plaintiff.
   102. A ccordingly asabove,David M errilland Ozm entM errillfailed to attem ptto
      investigate and m itigate creditorclaim s.This lack ofdiligence caused undue
      financialharm to the Plaintiff.
   103. Accordingly asstated above,D avid M enilland Ozm entM errillfailed to
      m itigate loan expensesin tw o m ortgage m odificationsand pursuem ortgagee
      contactssuch asK elm eth Lockwood ofSuntrustM ortgage.Thislack of
      diligencehascaused substantialsnancialharm to the Plaintiff.
   104. A ccordingly as stated above,D avid M enilland O zm entM errillw ere re-
     em ployed on October l7,2014,butw ererem issto file forcourtapprovaluntil
     D ecem ber 2,2104.'rhis delay to representthe Plaintiffw as the proxim ate
     causeto encourage thetakeoverofthebankruptcy m atterforthebetterbenefit
     to W endy Brown w hich caused substantialfinancialharm to the Plaintiff.
   105. A ccordingly as stated above,D avid M errilland O zm entM errillfailed to
      inform the PlaintiffofW endy B row n Plan Proponentliquidation plan to
      takeover ofthe debtor-in-possession plan to reorganize the voluntary Chapter
       11.Thisnegligence caused substantialfinancialharm to the Plaintiff .

   106. A ccordingly as stated above,D avid M enillfailed to advise the ram ifications
      ofhis advice to take a lopsidedly disproportionate M SA distribution leftthe
      Plaintiff$42,000 in debtin November2015.
   107. A ccordingly asstated above,D avid M errillfailed throughoutthe case failed
     to retum num erous em ails and telephone calls to the Plaintiffand others.In
     particular,David M errillfailed to specifically to return callsto advisethe
     Plaintiffon the date to leave the auctioned sold residence.In haste,the Plaintiff
     rem oved a large crysu lchandelierthatJudge K im balm ockingly chided on the
     record the Plaintiff screditability.Had M errillreturned thephonecallsthe
     chandelierw ould have been rem oved.The chandelierw as ret'um and installed   .
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      Thisisconductcontinued through-outthe bankruptcy isirresponsible and a
      m atterviolating theethicsofthe Florida Bar.
   108. Accordingly asstated above,David M errilland O zm entM errillfailed to
      encourage a com petitive review ofotherauctioneers otherthan Fisher
      Auctions.Forinstance,Craig PostofSheldon Good & Com pany had a better
      proposalthatwaspreferable overFisherAuctions, butwasdenied a tim ely
      opportunity to presentthebetterproposalto auction theplaintiff sresidence
      albeitagainsthis client's bestinterests
                                           .

   109. D avid M errilland Ozm entM enillfailedto investigate and challengethe
      legitim acy ofW endy Brown'sboguslispendens Thisw as so negligentthat
                                                     .

      they could notproperly preparethePlan ofReorganization and Disclosure
      Statem entw ithouta determ ination ofthe W endy Brow n divorce claim s This
                                                                          .

      fora11practicable purposeprevented and coerced the Plaintiffa credibleM SA
     and resulted in theN ew W aveLoan $6,000,000 loan being withdrawn. This
      failure to use the ordinary skillresulted in substantialfinancialharm to the
      Plaintiff.
   1l0. A ccordingly as stated above,A ttorney A lan Perlm an N otice ofFiling of
      M otion to obtain creditforN ew W ave Loansfiled 12/12/14, butw as
     w ithdrawn w ithoutcom munication ornotice by D avid M errillto thePlaintiff .

     Attorney Perlm an withdrew the $6,000,000 loan docum entfiled by N ew W ave
     Loansasitwasdiscovered thatthey werediscouraged by thelittle orno
     supportoverthe negligence ofD avid M errillon January 7, 2015.This post-
     petition tinancing w asm aterialand substantialto thePlaintifFstinancial
     position.
             W HEREFORE,the Plaintiff,KEN NETH W .BRO W N dem and a
     judgmentagainstDefendants,TalarchykM enill,OzmentM errill,M errill,
     P.A .and individually againstDavid M errill,Tina Talarchyk and Drake Ozm ent
     jointly and severelly,fordam agesin excessof$2,000,000,including interest,
     legalfees,and courtcosts.
                                           CO IJN T 11
                  C LA IM A G A IN ST Tlv D EFEN D A N TS FOR B REA CH O F
                                   FID U CIA RY D U R'Y
   111. Plaintiffreallege paragraphs 1 through 111 above as setforth fully herein
                                                                              .

     This action is forcontinuouslegalm alpractice displayed during the bankruptcy


                                                                                  22
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     proceeding from February 14,2013 through M ay 20,2016 and continuing if
      necessary through discharged.
   l12. A ta11relevanttim es from the inception ofthe B ankruptcy,a fiduciary and
      attom ey clientrelationship existedbetween thePlaintiffandtheDefendantts)
      individually and asan agents and principalsofthe Corporate entities.
   113. A tallrelevanttim es from inception ofthe Bankruptcy asattorneys forthe
     Plaintiff,ow ed the Plaintiffthe fiduciary duties ofloyalty and ofcare to
      exercise the degree ofcare and skillas w ould be exercised by a reasonably
      attorney practicing B ankruptcy 1aw in South Florida underthe sam e or sim ilar
      circum stances.
   114. TheDefendantts)ata1ltimesrelevantundertooktorepresentthePlaintiffin
      the Bankruptcy case and ensure thatthe Plaintiff s interests w ere protected.
   115.ThePlaintiffplaced histrustandcontidencein theDefendantts)believingat
     a11materialtimesthattheDefendantts)wereacting in hisbestinterestsand
      w ould actw ith the requisite degree ofcare and skillas w ould be exercised by a
      reasonably skilled attorney's practicing B ankruptcy 1aw in the South Florida
      area underthe sam e or sim ilar circum stances.
   116. TheDefendantts)breachedtheirfiduciarydutiesowedtothePlaintiffand
      theirreasonable duty as B ankruptcy attorneysas stated above and including but
      lim ited to:
   a) Failed to actwith thenecessary experienceand skillto effectively andproperly
      handle the Plaintiff s bankruptcy prudently to resultin an outcom e
     substantiallybetterforthedebtor(Plaintifg butfortheDefendantts)actions.
   b)Negligentlyfailed toreview,analyzeandinvestigatemost,ifnota11the
      docum ents to am eliorate or m itigate circum stances for an altem ative reality of
      abetteroutcomehadtheDefendantts)notbreachedtheirprofessionalduties.
   c) Negligently failed toorganizethedocuments,thefilingsand scheduling of
      m attersforprotecting the Debtorsassetsand the discharging debts.
   d) W hilerendering legalservicestothePlaintiff,theDefendantts)failedto
      exercise reasonable skill,care and diligence to com m unicate to orto advise
      correctly variousoutcom es and prom ises ofoutcom es than w hatactually
      resulted.Forinstance,D avid M errillstated the R odriquez case w astta slam
      durlk''for D efendantorthe Realtors claim form arketing expenses;he states
      ttdon'tw ony you w in.'' The legalm atters w ere stated incorrectly.


                                                                                       23
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   e) TheDefendantts)failedtoexercisethespecialskillandu owledgerequired in
      thepractice ofbankruptcy law to provide advice when requested,oradvise
      caution aboutthose circum stancesthatm ightresultin adverse consequences if
      the advice w asnotconsidered.A nd failed to volunteeropinionsw hen
     necessary to furtherthePlaintiffsobjectives.
   9 TheDefendantts)neveradvised,predicted,orforewarnedthePlaintiffthathis
      circum stancesw ould dictate thatthe outcom e ofthe case w ould leave him
      withouthisIlkA,$42,000 in m oniesdebtow ed to realtors,no creditor
      protection forhis annuities orany cash rem aining to replace his residence.The
     Defendantts)breachesprecipitated added financialhardshipsuntothePlaintiff.
   g) TheDefendantts)utterly failedtoprepareorprovideproperpreparation for
     adversary casesincluding the Rodriquez trialorto pursue Plaintiff s
     contingency Plaintifflitigations asstated above.
   1l7. The Plaintiffhas suffered dam agesdirectly and proxim ately caused by the
      Defendantts)breachesofFiduciary dutiesincluding butnotlimited to(a)the
      fundsthatthePlaintiffpaid,(b)orwerepaid on hisbehalf,(c)relatingtothe
      Courtordersdirecting payments,(d)moniespaidto claimsthatcouldhave
      been mitigated byDefendant'sactingproperly,(e)lossrealeconomicvalueof
      assetslost.(9 lossofmoniesforfailuretomitigatemortgagemodifications,(g)
      lossofPlaintiffjudgmentfrom RobertCarson,(h)thelossPlaintiff'sunequal
      distribution from M SA,and (i)thelegalfeesassociatedwiththebankruptcy
      and m atters related to the bankruptcy filings.
         W IIEREFORE,Plaintiff,KENNE'I'   H W .BROW N demand ajudgm entfor
      money damagesagainstDefendantts)jointlyand severally,including interest,
      costs,andany otherreliefinthePlaintiffsfavorastheCourtdeemsjustand
      Proper.
                                          C O UN T 111
                                  C O N STR U C TIV E FR AU D
                         (AgainstDavid M errilland OzmentM enill)
   118. Plaintiffreallege paragraphs 1 through 118 above as ifsetforth herein.
   119. Thisisan action forConstructiveFraud againstDefendantts)DavidM enill
      and O zm entM enill.                                     I
   120. A tal1relevanttim es,a tiduciary and attom ey clientrelationship existed
     betw een the Plaintiffand the D efendants.


                                                                                    24
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   121. Thedefendantts)owed thePlaintifffiduciary dutiesand wererequired toact
      honestly and in good faith w ith due regard forthe Plaintiffand hisinterestsand
      toavoid misconductwhichwould injureorbedetrimentaltothePlaintiff.
   122. The Defendantsabused the fiduciary and attorney clientrelationship w ith
     thePlaintiffto m isrepresentand concealm aterialfactsand otherwisetook an
      im proper advantage ofthe relationship atthe Plaintiff s expense.

   123. Specifcally,O zm entM enilland D avid M errill'sm isconductis as follow s:
      (a)intentionally misrepresented thetrialpreparationthatRodriquezwastta
      slam dunk'',(b)intentionallyand deliberately didnottellthePlaintiffthat
      M atthew Girardileftthe 51-
                                111and no attorney wasprepared to representthe
      Rodriquezcasewith thestakesbeing over$500,000,(c)recklessly and in gross
      negligence failed to protectthe Plaintifftsexem ptassetsby carelessly not
      filingaccuratean ScheduleC,(d)intentionally and deliberately misrepresented
      the correctlegalunderstanding ofthe 1aw to succeed ahead ofthe W endy
      BrowntakeoveroftheroleofPlan Proponent,(e)intentionally and deliberately
      concealed the resultthatthe Plaintiff sIlkA ,annuities and hom e equity w ould
      bedisbursedtopayunsecuredcreditorand legalfees,(9 intentionally and
      deliberately ignoredtheexpenseadjustm entsontheclosingstatementfor
      closing the sale ofthe Plaintiffsresidence forlegalfeesand m arketing
     expenses,(g)intentionally anddeliberatelymisrepresentedtheRodriquez
     appealthatJudgeKimballcommittedtjudicialerror''tooverttu'nthe$550,000
     judgment,(h)intentionallyanddeliberately misrepresentedthatthePlaintiff
      had a strong case to prevailand expectto prevailagainstvarious creditor
      claim sand w ould em erge w ith a fresh startvoluntary chapter 11
     reorganization,(i)intentionally anddeliberately misrepresented theclosing of
     the residence w ith O z Title w as nota conflictofinterest,and intentionally and
     deliberately concealed thattheirinaction and poorpreparation w ould not
     recklessly dam agethe Plaintiffssuccessfuloutcom e to em erge bankruptcy
     w ith a favorable discharge.
   124. D avid M errillland O zm entM errill'sactions w ere done in bad faith and
     constim ted w illfulm isconductand resulted in a com m itted constructive fraud
                                                                                   .


   125. The Plaintiffhas suffered dam ages directly and proxim ately caused by
     D avid M errilland O zm entM enill's m isconductand constructive fraud   .


         W HEREFORE,Plaintiff,KENNETH W .BROW N demandjudgmentfor
     m oney dam age againstthe D efendants D avid M errilland O zm entM errill,
                                                                                   25
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      M errillP.A.jointlyandseverally,including interest,costs,and such other
                                                               I

      reliefin thePlaintiffsfavorastheCourtdeemsjustandproper.
                                       CO U N T IV
                         FR A UD UL EN T M ISREPM SEN TA TION
          (AgainstDavidM errill,TalarchykM errill,OzmentM errill,M errillP.A.)
   126. Plaintiffreallege paragraphs 1 through 126 above as iffully setforth herein.
   127. This is an action forFraudulentM isrepresentation againstD efendants D avid
      M errilland O zm entM errill.
   128. D avid M enillm ade false statem ents to Plaintiff.Speciscally,D avid M enill
      as agentand on behalfofTalarchyk M enill,O zm entM errill,and M errillP.A .,
      intentionally misrepresented (a)atmeetinghehadtheproperexperienceand
      skillto effectively and properly representcom pletely the Chapter 11 case for
      initialretainerof$25,000 thatthisconsideration in legalfeesw ould generally
      besufficientthrough discharge,(b)intentionally and deliberately concealedthe
      breakup and fall-outbetweenTalarchyk M errilljustacoupleweeksafterthey
      wereretained,(c)lntentionally and deliberately DrakeOzmentreferred David
      M errillfully know ing thatOzm entM errillw ould survive the transferofthe
      Plaintiffscase,(d)M errillknew thestatementsmadeabouthow thePlaintiffs
      voluntary C hapter 11 w ould prevailin a financially successfuloutcom e to
      protectand preserve assetsto stillfavorably discharge debtsbecausehe
      possessed an aboveaverage professionalskill,diligence and knowledge fully
      knowing these statementswerefalsewhen made,(e)M errillintendedthatthe
      false statem entsinduce the Plaintiffto actupon them ,including thatthe
      Plaintiffhire him and to continue overw ith his successor firm sto provide the
      legalrepresentation w ith the paym ents ofadditionalretainer fees to O zm ent
      M errill.
   129. D avid M errillm ade false statem entsthatthe Plan ofR eorganization and
      Disclosure Statem entand the FirstAm ended Plan ofReorganization and
      D isclosure Statem entw ould prevailforward to Contirm ation and eventual
      D ischarge.
   130. M errillknew thatthe statem ents w ere false w hen m ade.
   131. M errillintended thatthe false statem ents induce the Plaintiffto acton them
     to,including em ploy him and O zm entM enillas counselto continue to em ploy
      them as counselforw ard to Confirm ation and D ischarge.


                                                                                      26
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   132.         David M errillm ade false statem entsthatthe Rodriquez
      dischargeabilitycasewasitaslam dunk''orthePlaintifftoprevailwithouta
      liability ofa$550,000judgment.
   133.          M errillknew thatthe statem entswere falsew hen m ade   .

   134. M errillintended thatthe false statem entsinduce the Plaintiffto acton them ,
      pay an additional$10,000 retainer,including em ploy him and Ozm entM errill
     as counseland to continue to em ploy Ozm entM errillforw ard to Confirm ation
     and Discharge.
   135. David M enillm ade false statem entstheM analapan residence wasto be
     auctioned in September2014 weeksafterthe fourth requestforpost-petition
      fnancing w asapproved for$500,000.The auction wasa false statementand
      m isrepresented by M errillin thelegalnecessity and prospectsto favorably
      prevailin financialbenefitto the Plaintiff
                                               .

   136. M errillknew thatthe statem entsw ere false w hen m ade.
   137.M errillintended thefalse statem entsinducethePlaintiffto actto borrow and
     an additional$600,000 in assetsatrisk w ith the expectation thatan auction was
     to be cancelled oratdelayed untilJanuary 2015 including to em ploy him and
      O zm entM enillas counselto continue forw ard to Confirm ation and D ischarge .

   138. David M errillm ade false statem entsthatthe W endy Brown Plan Proponent
      takeoverw aschallengeableand hertakeoverbe overturned by speedy and
      effective legalskillin filing the Plaintiff sam ended Plans.
   139. M errillknew thatthe statem entswere false when m ade.
   140. M errillintended the false statem entsinducethe Plaintiffto actto do hislegal
     w ork to editand to rew rite the Plans forcreditor and courtapprovalto rem ain
     D ebtor-in-possession,including continuing to em ploy him and Ozm entM enill
     ascounselofrecord.
   141. D avid M errillm ade false statem ents and concealed m aterialfactsthatthe
     M SA agreem entwasagood orbestsettlem entto acceptitbecausethe
     annuitieswere tçabsolutely''protected and $100,000 would bereleased to the
     Plaintiffw ithin a w eek.
  142. M errillknew thatthe statem entsw erefalsewhen m ade.
  143. M errillintended thatthe false statem entsinducethePlaintiffto acceptthe
     M aritalSettlementAgreement(M SA)to severedetrimenttothePlaintiffby
     concealing legalfeesand liquidationsto pay unsecured credi
                                                             ! torsfrom the
     Plaintiffs I1kA and hom e equity proceeds.
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   144. ThePlaintiffsuffered substantialdam agesdirectly and proxim ately caused
     by M errilland Ozm entM enill'sgaud.
   145. Further,the actionsofOzm entM errilland David M enillw ereintentional,
     willful,wanton,and m aliciousand perform ed in arecklessdisregard to
      prejudicethePlaintiffsrightsand remediesinthebankruptcy law.Therefore
      the Plaintiffreserveshisrightto nm end thiscomplaintto seek punitive
      dam agesagainstallD efendantsOzm entM errilland especially D avid M enill
      and M errillP.A .
     W herefore,Plaintiff,KENNETH W .BROW N dem andjudgm entformoney
   damagesagainstDavid M enill,OzmentM errilland M enillP.A.jointly and
   severally,including interest,costs,and any othersuch reliefin Plaintiff s favoras
   theCourtdeemsjustand proper.

                             D EM AN D FO R JU R Y TR IA L

      R     ctfully subm i e ,
     v/ X enneth W .sj
                    .
                    Frown,pro se
     6340 Breckenridge Circle
     Lake W orth,FL 33467
     kenwbrown@comcast.net
      562-542-6669



                            CER TIFICA TE O F SERV IC E
       IFIEREBY thata true and correctcopy ofthis Com plainthas been furnished
        by Proper Service ofa courtsum m ons this 28thday ofN ovem ber2016 to:

     D avid L.M errill,Esq.
     M errillP.A .
     525 S. FlaglerD rive 5thy-joor
     W estPalm B each,FL 33401
     dlmerrill@ merrillpa.com


                                                                                  28
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      K .D rake O zm ent,E sq.
      2001 Palm Beach Lakes Blvd.#410
      W estPalm B each,FL 33409
      wizard@ombkc.com
      Tina M .Talarchyk,Esq
      The Talarchyk Firm
      205 W orth A ve.#320
      The W orth A venue B uilding
      Palm B each,FL 33480
      tmt@ palmbeachbkll.com




                                                                            29
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                                 EX H IBIT 1
Case 9:16-cv-81916-RLR Document 1 Entered on FLSD Docket 11/28/2016 Page 31 of 40




                         A NALYSIS O F PRO PERTY VALUATIO N
                       DEBTO R'S RESIDENCE 4020 SOUTH OCEAN
                                   DECEM BER 3,2014



   ''Value is a w ord of m any m eanings-''Justice Brandeis in M issouriex rel.
   Southw estern Telephone Co.v.Public service Com m ission.



   The Debtorprovidesthe follow ing as ''adequate inform ation'' pursuantto
   IIU.S.C -1125 and provides as follow s:

         (a)(1)''adequateinformation''meansinformationofakind,and in
   sufficientdetail,as faras is reasonably practicable in Iightofthe nature and
   history ofthe debtorand the condition ofthe debtor's books and records...that
   w ould enable such a hypotheticalinvestorofthe relevantclassto m ake an
   informed judgmentaboutthe plan,butadequate information need to include
   such inform ation aboutany otherpossible orproposed plan and in determ ining
   w hethera disclosure statem ent provides adequate inform ation,the courtshall
   considerthe com plexity to creditors and otherparties in interest,and the coatof
   providing additionalinform ation;

   The Debtorprovides the follow ing as ''adequate protection''pursuantto 11 U.S.C.
   Section 361.The Bankruptcy Code requires a case by case valuation ofproperty at
   severalpoints during a Bankruptcy proceeding.Forexam ple,the sam e property
   maybefoundto havethefollowingvalues:1)afairmarketvalueforthepurposes
   ofdeterminingadebtor'spre-filingsolvency;2)avalue incidentalto determining
   ''adequateprotection'';Note:Heritage Highgate,Inc.,679 F.3d 132(3d Cir.2012),
   the CourtofAppealsforthe third Circuit ruled that,in a Chapter 11
   reorganization,theterm ''value''asappliedto section506(a),should meanthe
   fairmarketvalueofcollateralasofaplanofreorganization.Section506(a)(1)
   providesthata secured creditor's claim is ''a secured claim to the extentofthe
   value ofsuch creditor's interestin the estate's interestin such property...''
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         3)asecured-claim valuation;4)an ''indubitableequivalence''valueforplan
   confirmation;and 5)aIiquidationvalueforplanofreorganization.This
   constitutes differentvalue standards and subsequent determ inations.The debtor
   proposesa prudentbusinessjudgmentforvaluation in the fofmulation,
   negotiation,and confirm ation ofa plan ofreorganization thattruly serves
   everyone's interests and to aIIinvolved.The follow ing providesw ellestablished
   objectivevaluationsto evaluate prospectivevalueofthe propertyherein:
         Palm BeachPropertyTaxAppraisalvalue                 $3,601,722
         BkofAmericareservedbidvalue                         $4,602,581
         Purchase proposal(Buyersoffer)                      $5,000,000
          Appraisalvalued2006                                $8,200,000
         Appraisalvalued2007                                 $9,200,000
   Non-distresssale valuations com paratives ofm arketvalue
         RealtorK-2 CM A valuation                              $8,500,000
         Realtor Ham pton Realty CM A valuation                $10,500,000
         Realtor Keyes Realty                                  $12,132,000
         Certified realEstate AppraisalApril22,2014            $11,000,000
   FairM arketValue analysis current m arketand by Location and acreage
         M analapan Land Com p 1940 South Ocean
          Lake249'x150'Ocean251'x150'=75,000sqft(1.72acres) $6,500,000
               $3,779,069 peracre
        4020South Ocean 165'x800'= 132,000Sqft.(3.03acres)      $11,430,581
        1020South Ocean Blvdzacres200'ocean $5,585,000 peracre
               4020equivalencyperacrex3- 30% (discounted O.F.) $11,728,850
        1920South Ocean 150'9800sq.ft.home (BilIyJoelLLC)      $12,546,658
   Hom e forsale 3090 South Ocean 150 x 427 611 dom           $17,900,000
   Hom e forsale 1960 South Ocean Iot 174,240 sq f1.485 dom   $32,500,000

   The above analysisisneitherdebtorfriendly orcreditorfriendly isan objective
   review ofa non-distresssale w ithin not outside ofthe ordinary course of
   businessand not a 363 distresssale.The above value'sthe assetin a m arket
   condition w here m arketvalues are that's heading up;w here the m arketvale far
   exceeds distressvalues;w here replacem entvalue and com parable sale valuesare
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   m ore precisely greaterand vary m uch m ore than a 363 disposition sale for
   ''adequate protection''and ''adequate inform ation''forthe com pletion ofthis
   Chapter11 plan ofreorganization.Unlike Iiquid assets, realestate w hile readily
   salable isdependentupon the subjectivity oftime and circumstance.

   Resped fully subm itted,

   Kenneth W .Brow n
   Debtor
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                                 EX H IBIT 2
       Case 9:16-cv-81916-RLR Document 1 Entered on FLSD Docket 11/28/2016 Page 35 of 40
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  BK lofr
        wiwlForm K )(4/1:)




   ln re        Kennel W illiam Brow n                                                                         CajeNo.         13-13343
                                                                                    Debtor

                                        SCH ED ULE C -PROPERW CLAIM ED A S EXEM PT
  DebtorclaimstheexempGonstowhichdebtorisenti
                                            tledunder:                                    D Checkifdebtorclaimsahomesteadexemptionth
  (Checkoneboxl                                                                             $1                                                 atexceeds
                                                                                              46,450.(AmounlsubpctJt?atltust
                                                                                                                           menton4,1,13,anaevery threeyearstherea-
   Q
   * 1 1U
      11U SC j522(b)(2)                                                                               *'threlrec/tocasescommencedo.n                           )fter
                                                                                                                                     oraltertheJzz/eofa4ustment.
          .S.
            C.j522(b)(3)
                                                                            Sm cify Law Proyiding                    Valpeof              CurrentValpeof
                  DescriptionofProm rty                                       EachExemptlon                         Ecjajmsd              proprrtyw j
                                                                                                                                                    thouj
                                                                                                                     xempuon           DeductmgExempe n
Cash on Hand
Cash on hand                                                          11 U .S.C.1522(b)(3XB)                              2,6* .*                    2,5* .*
Checkino.Savinos.orOo erFinancialActoune . Certmcates ofDeposit
Checkingaccpunt                                                       11U.S.C.1522(b)(3)(B)                                 302.24                     302.24
Acct.No.endlng 0124
Paradise Bank
Checkingaccpunt                                                       Fla.ConstartX,14(a)(2)                                882.34                     882.34
Acct.No.endlng 8497
Paradise Bank

HouseholdGModsandFurnishinos
Sofas (4):chalo (8);Iove seal (4);coffee Kbles                        11U.S.C.j522(b)(3)(B)                              15,0* .00                 15,000.00
(6);endhbles(8);Iamps(20);mirrors(10);
bookcases(5);wallunl* (2):baO (2):king beds
(3):queenbed;desleo (4);nightsknd!(6);
refrideratoo (3);dlnlng oble;dming chal- (2Q);
bu/et;serveo (2):dinee kbles (2);dine/e
chairs(4);blendeO (2);coA emaker;food
prol
kb c
   ee
    ss(
      s
      2o
       ):r;crFdenzys(3);desksj 4);pa:o
          patlochalo (10:0;1Mqtl
                               o Iounges (4);
VCRS (4);DV> (4);W s (6 -42.'LG,5yo;32':LG
5yo;32':LG 5yo;and threoId hlbe TVs)
compu*o (4-25yo+PCS,HP Laptop5yo;
sNerver1W o);Mone o (4);prin*o (4):sMreo
(
kbl
 oname30yo);radlos(3)Jhandtools;drlll;
    e saw;rouk r;sander;jig saw;dishware;
k ble ware

Books.Plctures and Om erArtObl
                             'ec* :Collectibles
Sculptures and Sktues (two glraa s,two                                11U.S.C.1 522(b)(3)(B)                            35,0* .00                  35,000.00
golfers,Pobaseballplayer*,mermaidcwooden
b
 ear);prln* andartwork (streetartand
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                                   Case 13-13343-EPK Doc 25 Filed 03/11/13 Page 12 of37
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Case 9:16-cv-81916-RLR Document 1 Entered on FLSD Docket 11/28/2016 Page 37 of 40




                                 EX H IBIT 3




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   Case 9:16-cv-81916-RLR Document 1 Entered on FLSD Docket 11/28/2016 Page 38 of 40
                                   Case 13-13343-EPK Doc 191 Filed 06/20/14 Page 3 of8
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  In re        Kenneth W illiam Brown                                                                   CaseN o. 13-13343-EPK
                                                                            (lebtor

                          SCH EDULE C -PROPER TY CLAIM ED AS EXEM PT -AM ENDED
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 (Checkonebox)                                                                        $146,450.(Amountsubjecttoatltust
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RealPropeo
Singl
    e family house Iocated at4020 South                        Fla.Const.art.X,j4(a)(1);Fla.Stat.                 Unknown                 6,000,000.00
Ocean Blvd,Manalapan,Florida more                              Ann.jj 222.01& 222.02
particularly described as:TW O PARCELS OF
LAND: A parcelofland in GovernmentLotFour
(4),Section Fifteen(15),Township Foo -five
(45)South,Range Forty-three(43)East,Inthe
Town ofManalapan.Palm Beach County,
Florida,m ore particularly described as: A
parcelofIand 75 feetin width m easured in right
angels between parallelIines,bounded on the
South by a line parallelto and 90 feetNortherly
from ,atrightangles to the South Iine ofthat
certain parcelofIand shorn and designated as
LotSix (6),''Commissioners'Map,Gedney vs.
Pierson Partition,Chancery No.:8802,dated
February 22,1932,prepared by Fugate and
Brockway,Enjineers,on5le in tehOfficeofthe
Clerk ofthe ClrcuitCourton and forPalm
BEachCounty,FloridaAin ChanceF CaseNo.
8802;bounded on the Nodh by a Ilne parallelto
and 75 feetNortherly from Imeasured atright
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Westbythe waters ofLake Worthand on the
Eastby the waters ofthe Atlantlc Ocean.
Togetherwith Iittqralrightsonthe Atliantic
Ocean and such rlparian righ? on Lake W orth
as areownedby the owners,(parties ofthefirst
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SEE ATTACHED forrights ofway and second
parceldescripti
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Autom obiles.Trucks.Trailers,and OtherVehicles
2004Mercedes 5L55AMG                                           Fla.Slt.Ann.j 222.26(1)                             1,000.00                  14,770.00
VIN:




                                                                                             Total:                1,000.00              6,014,770.00
   0 continuation sheetsattachedto ScheduleofProperty Claimed asExempt
SoftwareCopyright(c)1996-2013-BestCase,LLC -www.bestcase.com                                                                           BestCaseBankmptcy
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    Case 9:16-cv-81916-RLR Document 1 Entered on FLSD Docket 11/28/2016 Page 39 of 40
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                                     EX H IBIT 4
        continuouslyDocument
Case 9:16-cv-81916-RLR . Not submitting    orders
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                                               Docket 11/28/2016 Page 40. of 40
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